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 1   [Counsel on signature page]

 2                            UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                     SAN JOSE DIVISION

 5   CONCORD MUSIC GROUP, INC., ET AL.,              Case Number: 5:24-cv-03811-EKL-SVK

 6         Plaintiffs,                               JOINT DISCOVERY DISPUTE
                                                     STATEMENT REGARDING
 7         v.                                        PUBLISHERS’ CHALLENGES TO
 8   ANTHROPIC PBC,                                  ANTHROPIC’S CONFIDENTIALITY
                                                     DESIGNATIONS
 9         Defendant.
                                                     FILED UNDER SEAL
10
                                                     Judge Eumi K. Lee
11                                                   Magistrate Judge Susan van Keulen
12

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                                                                      Case No. 5:24-cv-03811-EKL-SVK
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 1             Pursuant to Section VI of the Stipulated Protective Order (“Protective Order”), ECF No.

 2   293, Section 8 of Magistrate Judge van Keulen’s Civil Standing Order, and L.R. 37-1 and 37-2,

 3   Plaintiffs (“Publishers”) and Defendant Anthropic PBC (“Anthropic”) respectfully submit this

 4   Joint Discovery Dispute Statement. The Parties seek the Court’s intervention in resolving a dispute

 5   arising from Anthropic’s confidentiality designations of various documents and Publishers’

 6   challenges to those designations as overbroad and improper. The Parties’ lead counsel met and

 7   conferred to try to resolve this dispute via videoconference on April 11, 2025 and by email.

 8   However, the Parties have been unable to reach agreement. The current fact discovery deadline is

 9   129 days away. As a compromise, Publishers propose that Anthropic remove the blanket “Highly

10   Confidential—Attorneys’ Eyes Only” (“HC-AEO”) designation it has applied across its entire

11   production of Claude prompts and output, and re-designate only those documents that meet the

12   Protective Order’s standards; as to the other challenged documents, Publishers cannot offer a

13   compromise, given the lack of a basis for Anthropic’s HC-AEO designations. Anthropic proposes

14   that it will de-designate all prompts and outputs initiated by Plaintiffs or their agents as public and

15   will consider de-designations of specific portions of third-party prompts and outputs, so long as

16   those portions do not risk publicly revealing the user’s identity or any other of his private details.

17   As to the other challenged documents, Anthropic cannot offer a compromise. Anthropic

18   respectfully requests that any hearing be sealed, in light of its position that this discovery is AEO.

19   I.        Publishers’ Position

20             Anthropic is abusing the Protective Order. It has designated 96% of the 13,189 documents

21   it has produced as “Highly Confidential—Attorneys’ Eyes Only.” Its grossly overbroad HC-AEO

22   deisgnations include (1) every single one of the 9,418 Claude prompt and output records it has

23   produced, regardless of whether any given record reflects any conceivably sensitive information;

24   (2) general Claude prompt and output figures, dating from 2023 and 2024, which pose no risk of

25   serious competitive harm to Anthropic; and (3) the fact that Anthropic used two common AI

26   training datasets to train Claude, which likewise poses no risk of serious harm. Anthropic’s mass

27   over-designation flouts the law, violates the Protective Order, and unfairly prejudices Publishers.

28             Anthropic’s “[p]retrial discovery is presumptively public,” Doe 1 v. Wolf, 2020 WL
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 1   2745266 (N.D. Cal. 2020), just as there is “a strong presumption in favor of access to court

 2   records,” Foltz v. State Farm Mut. Auto. Ins., 331 F.3d 1122, 1135 (9th Cir. 2003). Anthropic can

 3   overcome this presumption only upon a “particularized showing of good cause.” San Jose Mercury

 4   News, Inc. v. U.S. Dist. Ct., 187 F.3d 1096, 1103 (9th Cir. 1999). Even if it shows “particularized

 5   harm” from disclosure, the Court weighs that against the public interest and whether redactions

 6   could allow disclosure. In re Roman Cath. Archbishop of Portland, 661 F.3d 417, 425 (9th Cir.

 7   2011).

 8            Anthropic fails to make anything close to a particularized good cause showing here. None

 9   of this information meets the very high standard for HC-AEO treatment under the Protective Order,

10   which limits such protections to only “[i] extremely sensitive ‘Confidential Information or Items,’

11   [ii] disclosure of which . . . would create a substantial risk of serious harm . . . [iii] that could not

12   be avoided by less restrictive means,” like redactions. ECF No. 293, ¶ II.12 (emphasis added).

13            Judge Chhabria emphatically rejected similar over-designations by another AI company in

14   a copyright infringement case, given that they were “not designed to protect against the disclosure

15   of sensitive business information that competitors could use,” but rather “to avoid negative

16   publicity.” Kadrey v. Meta Platforms, Inc., No. 23-cv-03417-VC (N.D. Cal. 2025), ECF No. 373.

17            Anthropic tries to cloak this key discovery in HC-AEO designations, to obstruct

18   Publishers’ ability to use it in this case. But without the required showing of serious harm from

19   disclosure, Anthropic cannot justify imposing onerous restrictions on access to this important

20   information.

21            A.     Anthropic’s indiscriminate designation of all Claude prompts and output as
                     “Highly Confidential—Attorneys’ Eyes Only” is improper.
22
              “[T]he rule against blanket designations is well-established.” Knox v. Contra Costa Cnty.,
23
     2022 WL 2290686, at *37 (N.D. Cal. 2022). “[C]onfidentiality designations must be reasonably
24
     and narrowly tailored.” Id. Despite this, Anthropic has designated every single Claude prompt and
25
     output it has produced as HC-AEO. See Anthropic_0000000918–10881, 016460–215981.
26
              The impropriety of Anthropic’s indiscriminate over-designation is underscored by the fact
27
     that many of these records simply regurgitate copyrighted lyrics owned by Publishers, such as:
28
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        •   A Claude user who “want[ed] to sing ‘The Boys are Back in Town’ by Thin Lizzy”
 1
            prompting Claude to “print out the lyrics of the song,” and Claude responding by
 2          generating output with a near-verbatim copy of those lyrics, to which Universal owns the
            copyright. Anthropic_0000003118.
 3
        •   A user asking AI model to choose any song and rearrange its lyrics into a poem, and Claude
 4          generating an unauthorized mashup mingling verbatim lyrics from “Lean on Me” and “Life
            is a Highway,” two works to which Universal owns the copyright. Anthropic_0000007158.
 5
        •   A user asking for “the lyrics to message in a bottle by the police,” and Claude generating
 6          output with those lyrics, to which Universal owns the copyright. Anthropic_0000005629.

 7          “[M]ass document designation” like this is “an abusive discovery practice” that should “not

 8   be tolerated.” McGhee v. N. Am. Bancard, 2021 WL 2577159, at *10 n.6 (S.D. Cal. 2021).

 9   Anthropic’s gross over-designation blatantly violates the Protective Order’s mandate that parties

10   exercise “restraint and care in designating material for protection” and “limit any such designation

11   to specific material that qualifies under the appropriate standards.” ECF No. 293, ¶ V.1.

12          What’s more, even though Anthropic bears the burden as to these designations, id. ¶ VI.4,

13   it does not even attempt to make the required document-by-document showing of “particularized

14   harm.” Wolf, 2020 WL 2745266, at *2; see also Foltz, 331 F.3d at 1130 (designating party must

15   establish harm of disclosure “for each particular document it seeks to protect”). Instead, it points

16   to purportedly sensitive information in just a handful of records. But even if those few documents

17   were properly HC-AEO, that would not justify Anthropic’s across-the-board designation of

18   thousands of other records as HC-AEO. See Edwards Vacuum, LLC v. Hoffman Instrumentation

19   Supply, Inc., 2021 WL 186932, at *2 (D. Or. 2021) (“[A]n ‘across-the-board’ designation is

20   improper, even if some confidential information may be found within the broader designation,”

21   and “a party misuses a protective order when it over-designates discovery materials in that way.”).

22          Disclosure of these Claude prompts and output could not “seriously harm” user privacy,

23   for at least three reasons: (1) Anthropic has already anonymized every single one of these records,

24   preventing the records from being tied to any specific users; (2) Anthropic has gone even farther

25   and—without the Court’s permission—unilaterally and permanently “masked” references to other

26   individual names in these records (including not only user names, but also the names of the very

27   songwriters whose lyrics Anthropic is infringing), in a manner that cannot be undone and that

28   leaves much of this key discovery indecipherable to Publishers; and (3) on top of all that, Anthropic
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 1   instructs users “not to use our products and services to process personal data.”1 Anthopic offers no

 2   declaration or other evidence to support its boilerplate claims about user privacy. “[G]eneralized

 3   allegations of harm are insufficient.” Wolf, 2020 WL 2745266, at *2.

 4            Anthropic misstates the provisions of the Protective Order. It wrongly claims any records

 5   that “reveal private details about the user in any way” qualify for HC-AEO protection, when that

 6   is not what the Order (or the law) allows. ECF No. 293, ¶ II.12. Anthropic also misleadingly quotes

 7   the Protective Order to suggest it need not undertake document-specific designations if not

 8   “practicable,” when, again, that is not what the Order (or the law) requires.

 9            Anthropic also mischaracterizes the relief Publishers seek. Contrary to Anthropic’s claims,

10   Publishers do not seek to “make public” all these documents, nor do Publishers request line-by-

11   line designations. Publishers ask only that Anthropic comply with the Order by designating

12   documents properly, so they can utilize this discovery without unwarranted, onerous restrictions.

13            Anthropic pats itself on the back for withdrawing certain designations in connection with

14   Publishers’ Amended Complaint. But Anthropic’s about-face—only after Publishers were forced

15   to raise this issue—simply shows Anthropic lacked any basis for the designations in the first place.

16            Rather than remedy its improper over-designations, Anthropic tries to foist the burden onto

17   Publishers. Anthropic has it backwards. “There is a burden to determine confidentiality, but that

18   burden properly falls on the party seeking protection.” Shenwick v. Twitter, Inc., 2019 WL

19   1552293, at *2 (N.D. Cal. 2019). Publishers cannot “be forced to read and challenge every page

20   of every [document] or to accept [Anthropic’s] designation of confidentiality and spend

21   unnecessary time and expense filing motions and documents under seal when unwarranted in many

22   cases.” Id. It is Anthropic’s obligation under the law and Protective Order to review and designate

23   only those specific documents that properly qualify for HC-AEO protection. It has failed to do that.

24            Finally, to be clear, the present dispute does not apply to the Claude sampling protocol;

25   Publishers do not disagree that separate confidentiality provisions may need to apply to that sample.

26            B.     Anthropic does not establish that any serious harm would arise from
                     disclosure of high-level Claude prompt and output figures.
27
     1
28     ANTHROPIC, https://privacy.anthropic.com/en/articles/10023555-how-do-you-use-personal-data-in-model-
     training?q=terms+of+use; ANTHROPIC, https://www.anthropic.com/legal/privacy.
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 1   99),   private   meeting    notes,   and    personal   health    and/or medical      inquiries   (e.g.,

 2   ANTHROPIC_0000007483–524; ANTHROPIC_0000100395–510). See, e.g., San Ramon Reg’l

 3   Med. Ctr., Inc. v. Principal Life Ins. Co., 2011 WL 89931, at *1 n.1 (N.D. Cal. Jan. 10, 2011) (sua

 4   sponte sealing confidential medical information); Self v. Horel, 2008 WL 4774457, at *2–3 (N.D.

 5   Cal. Oct. 30, 2008) (sealing sexually explicit material). While the chat logs have been anonymized

 6   through redaction of usernames and email addresses, they still contain private and sensitive

 7   information, including, in some instances, information that could facilitate user identification (e.g.,

 8   ANTHROPIC_0000019572–73). See Cline v. Reetz-Laiolo, 329 F. Supp. 3d 1000, 1019 n.7 (N.D.

 9   Cal. 2018) (sealing private records and correspondence); La Canada Ventures, Inc. v.

10   MDalgorithms, Inc., 2024 WL 40205, at *8 (N.D. Cal. Jan. 3, 2024) (sealing private emails).

11          Plaintiffs point to a few cherry-picked examples from among the thousands of prompts and

12   outputs Anthropic has produced to suggest these documents merely show Claude outputs

13   “regurgitat[ing]” song lyrics such that Anthropic should de-designate all of them en masse or, in

14   the alternative, engage in a burdensome line-by-line review for “sensitive information.” Not only

15   is this claim untrue, it ignores that the entirety of each particular chat log is the private

16   communication of a third-party user who has not chosen to share it publicly. Publicizing the full

17   contents of any of these communications, even without user-account information, risks serious

18   harm to Anthropic’s users, who reasonably believe their chat logs are private, and to Anthropic,

19   which has publicly committed to protecting user privacy. The scale of the potential harm is massive,

20   considering Plaintiffs are also seeking a sample of 24.5 million prompts and outputs. See Dkt. 341.

21          Even the examples Plaintiffs cite include more than alleged “regurgitation.”

22   ANTHROPIC_0000003118 includes a query identifying the user’s social media handle, radio host

23   name, and “alter ego” before describing his alter ego’s personality. ANTHROPIC_0000005629

24   includes a query regarding business strategies for the user’s industrial packaging machine

25   company. And ANTHROPIC_0000007158—a chat log 50 pages long—discusses improvements

26   to the user’s mental and physical health, as well as preparation of a speech for a school assignment.

27          Publicizing these records risks violating Anthropic users’ privacy and undermines

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 1   Anthropic’s commitment to keep its users’ information confidential. 7 See Humboldt Baykeeper v.

 2   Union Pac. R. Co., 244 F.R.D. 560, 563 (N.D. Cal. 2007) (protective orders may address

 3   “unintended but harmful collateral consequences,” like the “inadvertent invasion of non-parties’

 4   rights of privacy”). This Court already determined that Anthropic’s users have privacy interests

 5   that “are not extinguished simply because Anthropic advises it ‘may’ disclose certain personal data

 6   to third parties.” Dkt. 318 at 4. And courts in this District have maintained confidentiality for

 7   analogous private user data. See Ubiquiti Networks, Inc. v. Kozumi USA Corp., 2013 WL

 8   12212698, at *2 (N.D. Cal. Feb. 25, 2013) (documents containing specific customer information

 9   “may be designated as confidential.”); see also Gonzalez v. Google, Inc., 234 F.R.D. 674, 687

10   (N.D. Cal. 2006) (raising, sua sponte, concerns regarding user privacy in “the text of search

11   queries,” which “may constitute potentially sensitive information”). Plaintiffs’ own authority is in

12   accord. Rodman, 2013 WL 12320765 at *2 (“much of the material proposed to be sealed is internal

13   information not otherwise made available to the public regarding . . . customer data.”).

14            Plaintiffs incorrectly suggest that Anthropic is treating these documents as HC-AEO solely

15   to avoid “negative publicity” regarding Claude’s potential reproduction of song lyrics. But

16   Anthropic has never denied that Plaintiffs’ song lyrics have appeared in certain Claude outputs.

17   See, e.g., Dkt. 67 at 6-8; Dkt. 290. Moreover, Kadrey, No. 23-cv-03417 (N.D. Cal. 2025), Dkt.

18   373 addressed sealing internal Meta communications, not records in which a third party had an

19   interest. Plaintiffs’ reliance on McGhee, 2021 WL 2577159 at *10, is misplaced for analogous

20   reasons (defendant designated any documents not available on his public website confidential).

21            Anthropic has met its burden under the Protective Order by articulating a clear basis for

22   protection of these documents: Claude users expect them to be kept private. This argument does

23   not lose force merely because it applies equally to a large group of records. Indeed, it is “not

24   inherently improper” to designate “a large number of documents as confidential.” See O’Neil v.

25   City & Cnty. of S.F., 2021 WL 1736809, at *4 (N.D. Cal. May 3, 2021). And neither of the cases

26   7
       See https://www.anthropic.com/legal/privacy (Anthropic “strive[s] to prioritize the protection of personal
27   data,” “comply with all applicable privacy laws,” and, by default, “will not use [its users’] Inputs or Outputs to
     train [its] models”); https://support.anthropic.com/en/articles/8325621-i-would-like-to-input-sensitive-data-
28   into-free-claude-ai-or-my-pro-max-accout-who-can-view-my-conversations (“Only a limited number of staff
     members have access to conversation data and they will only access this data for explicit business purposes.”).
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 1   Plaintiffs cite nor the Protective Order support wholesale de-designation here. Both Shenwick,

 2   2019 WL 1552293, at *2 and Knox, 2022 WL 2290686, at *37 concerned deposition transcripts,

 3   which are not a useful analogy to Claude prompts and outputs. Depositions are not conducted with

 4   a background expectation of privacy, and transcripts are vastly more practical to redact. Here, the

 5   chat logs Anthropic has produced so far total over 200,000 pages, with more to follow, making it

 6   impractical and burdensome to require line-by-line or even page-by-page designations, particularly

 7   given the baseline sensitivity of these documents. Dkt. 293 § V.1 (the parties should designate

 8   “only those parts of material” that qualify for protection “[t]o the extent practicable”). While

 9   Plaintiffs dubiously assure the Court they do not intend to disclose this material, they also assert

10   there is a “presumption of public access” to it, explicitly recognizing that Anthropic would be

11   unable to prevent public disclosure should the materials be de-designated.

12          Plaintiffs’ effort to de-designate all prompts and outputs in their entirety is not appropriate.

13   See Wolf, 2020 WL 2745266, at *3 (denying de-designation request because opposing counsel had

14   “full access to the designated material” as well as “a mechanism to obtain a document -specific

15   ruling[s]”). Anthropic is willing to work with Plaintiffs in good faith, as it did ahead of Plaintiffs’

16   filing of their amended complaint, to de-designate specific prompts and outputs where appropriate,

17   practical, and consistent with protecting users’ privacy interests.

18          B. Disclosing Claude Usage Metrics Would Cause Serious Competitive Harm

19          Plaintiffs seek to de-designate monthly metrics concerning the volume of Claude prompts

20   and outputs from September 2023 to November 2024. These metrics are closely guarded: like its

21   competitors in the AI market, Anthropic does not publicize them. See N.Y. Times Co. v. OpenAI,

22   23-cv-11195 (S.D.N.Y.), Dkt. 426 (sealing ChatGPT usage metrics (Dkt. 414)). De-designating

23   this proprietary information would give competitors and potential business partners unfair insights

24   into Anthropic’s business strategies relating to the relative importance of Anthropic’s consumer

25   and enterprise offerings, or insights into its market share relative to competitors. See In re Elec.

26   Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (sealing “business information that might harm

27   a litigant’s competitive standing”). Internal business data, particularly data that has been

28   “maintained in a confidential manner” is commercially sensitive and warrants highly confidential
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 1

 2   Dated: May 5, 2025                           Respectfully submitted,

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                                      SIGNATURE ATTESTATION
 1

 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document was obtained from all other signatories of this document. I declare under penalty of
 4   perjury that the foregoing is true and correct.
 5

 6    Dated: May 5, 2025                                          /s/ Timothy Chung
                                                                    Timothy Chung
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 1
                                                EXHIBIT A
 2

 3   Anthropic                     Publishers’             Anthropic’s               For the Court’s
     Confidentiality               Proposed                Proposed                  Use
 4   Designation                   Compromise              Compromise
     Challenged by
 5   Publishers
 6
     (1) Anthropic’s       As a compromise,                Anthropic proposes
 7   designation of all Claude
                           Publishers propose              that it will de-
     prompt/output records that Anthropic                  designate all
 8   produced to date as   remove the blanket              prompts and outputs
     “Highly Confidential— “Highly                         initiated by Plaintiffs
 9
     Attorneys’ Eyes Only.”Confidential—                   or their agents as
10                         Attorneys’ Eyes                 public and will
     See                   Only” designation it            consider de-
11   Anthropic_0000000918– has applied across its          designations of
     10881;                entire production of            specific portions of
12   Anthropic_0000016460– Claude prompts and              third-party prompts
     215981.               output, and re-                 and outputs, so long
13
                           designate only those            as those portions do
14                         documents that meet             not risk publicly
                           the Protective                  revealing the user’s
15                         Order’s standards.              identity or any other
                                                           of his private details.
16   (2) Anthropic’s               Publishers cannot       Anthropic cannot
     designation of certain        offer a compromise,     offer a compromise.
17
     Claude prompt and             given the lack of a
18   output figures dating         basis for a
     from 2023 and 2024 as         Anthropic’s “Highly
19   “Highly Confidential—         Confidential—
     Attorneys’ Eyes Only.”        Attorneys’ Eyes
20                                 Only” designation.
21   See Anthropic Counsel
     S. Sampoli Email (Mar.
22   17, 2025); Anthropic
     Counsel I. Dukanovic
23   Email (Mar. 31, 2025);
     Anthropic’s Am. Supp.
24   Response to Publishers’
25   Interrogatory No. 4
     (Dec. 20, 2024).
26
     (3) Anthropic’s               Publishers cannot       Anthropic cannot
27   designation of the fact       offer a compromise,     offer a compromise.
     that Anthropic used two       given the lack of a
28
                                                       1                 Case No. 5:24-cv-03811-EKL-SVK
                                                                       EX. A TO JOINT DISPUTE STATEMENT
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     AI training datasets in       basis for a
 1   the training of Claude as     Anthropic’s “Highly
 2   “Highly Confidential—         Confidential—
     Attorneys’ Eyes Only.”        Attorneys’ Eyes
 3                                 Only” designation.
     See Anthropic’s Am.
 4   Supp. Response to
     Publishers’ Interrogatory
 5
     No. 6 (Dec. 20, 2024).
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                                                      2                  Case No. 5:24-cv-03811-EKL-SVK
                                                                       EX. A TO JOINT DISPUTE STATEMENT
                                 RE PUBLISHERS’ CHALLENGES TO ANTHROPIC’S CONFIDENTIALITY DESIGNATIONS
